Case 2:18-bk-24706-ER   Doc 1 Filed 12/20/18 Entered 12/20/18 08:38:48   Desc
                         Main Document    Page 1 of 9
Case 2:18-bk-24706-ER   Doc 1 Filed 12/20/18 Entered 12/20/18 08:38:48   Desc
                         Main Document    Page 2 of 9
Case 2:18-bk-24706-ER   Doc 1 Filed 12/20/18 Entered 12/20/18 08:38:48   Desc
                         Main Document    Page 3 of 9
Case 2:18-bk-24706-ER   Doc 1 Filed 12/20/18 Entered 12/20/18 08:38:48   Desc
                         Main Document    Page 4 of 9
Case 2:18-bk-24706-ER   Doc 1 Filed 12/20/18 Entered 12/20/18 08:38:48   Desc
                         Main Document    Page 5 of 9
Case 2:18-bk-24706-ER   Doc 1 Filed 12/20/18 Entered 12/20/18 08:38:48   Desc
                         Main Document    Page 6 of 9
Case 2:18-bk-24706-ER   Doc 1 Filed 12/20/18 Entered 12/20/18 08:38:48   Desc
                         Main Document    Page 7 of 9
Case 2:18-bk-24706-ER   Doc 1 Filed 12/20/18 Entered 12/20/18 08:38:48   Desc
                         Main Document    Page 8 of 9
Case 2:18-bk-24706-ER   Doc 1 Filed 12/20/18 Entered 12/20/18 08:38:48   Desc
                         Main Document    Page 9 of 9
